Case 1:18-cv-00192-LEK-KSC Document 13-1 Filed 06/03/18 Page 1 of 13      PageID #:
                                     199



 CULPEPPER IP, LLLC
 Kerry S. Culpepper, Bar No. 9837
 75-5737 Kuakini Highway, Suite 102
 Kailua-Kona, Hawai’i 96740
 Telephone: (808) 322-3389
 Facsimile: (202) 204-5181
 E-Mail:     kculpepper@culpepperip.com

 Attorney for Plaintiffs

                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

  Venice PI, LLC et. al.,               )   Case No.: 1:18-cv-00192-LEK-KSC
                                        )   (Copyright)
            Plaintiffs,                 )
      vs.                               )   MEMORANDUM IN SUPPORT
                                        )   OF APPEAL OF MAGISTRATE
  DOE 1 et al.                          )   JUDGE’S ORDER DENYING
                                        )   PLAINTIFFS’ EX PARTE
            Defendants.                 )   MOTION FOR LEAVE TO
                                        )   SERVE THIRD PARTY
                                        )   SUBPOENA PRIOR TO A RULE
                                        )   26(F) CONFERENCE
                                        )
                                        )

                  MEMORANDUM IN SUPPORT OF MOTION

 I.     BACKGROUND

        Plaintiffs Venice PI, LLC, Headhunter LLC, MON LLC, LHF Productions,

 Inc., Cook Productions, LLC., Glacier Films 1, LLC, Colossal Movie Productions,

 LLC, Automata Productions, Inc., Criminal Productions, Inc., Dallas Buyers Club,

 LLC, Clear Skies Nevada, LLC, Bodyguard Productions, Inc., I.T. Productions,

                                        1
Case 1:18-cv-00192-LEK-KSC Document 13-1 Filed 06/03/18 Page 2 of 13             PageID #:
                                     200



 LLC, SVC Productions, Inc., Splintered, LLC, Cobbler Nevada, LLC, and Justice

 Everywhere Productions, Inc., (collectively “Plaintiffs”) are owners of the

 copyright in the motion pictures (“Works”) shown in Exhibit 1 [Doc. #1-1] of the

 Complaint [Doc. #1].

       Plaintiffs brought this action to stop the massive piracy of their Works

 brought on by the distribution and promotion of the software application Show

 Box (hereafter: the “Show Box app”) by Defendants DOE 1 d/b/a

 showboxappdownload.com, DOE 2 d/b/a showboxappdownload.co, DOE 3 a/k/a

 Andy Crow, DOE 4 a/k/a Mark Willow, DOE 5 d/b/a show-

 box.en.uptodown.com/android, and DOES 6-10 (collectively “Defendants”). The

 Defendants misleadingly promote the Show Box app as a legitimate means for

 viewing content to the public, thereby placing hundreds of individuals in Hawaii in

 legal peril for copyright infringement while they hide behind a Columbian top-

 level domain in case of DOES 2-4, anonymous registrants (even in Panama in the

 case of DOES 2-4), false identities and addresses (DOES 2-4), and anonymous

 registrant services so that they can enjoy the gains from their illicit enterprise. [Id.

 at ¶¶ 13-26].

       Because Defendants have actively concealed their true identities, Plaintiffs

 cannot serve the Defendants with a summons for the Complaint or the motion for

 temporary restraining order [Doc. #4]. Accordingly, Plaintiffs sought leave of this


                                            2
Case 1:18-cv-00192-LEK-KSC Document 13-1 Filed 06/03/18 Page 3 of 13              PageID #:
                                     201



 Court to serve third party subpoenas to obtain the Defendants’ identities [Doc. #8].

 Nonetheless, Magistrate Judge Kevin S.C. Chang denied Plaintiffs’ motion in a

 brief order (hereafter: the “Order”) of May 24, 2018 [Doc. #9] which states,

 “…Plaintiffs having failed to properly identify and apply legal standards relevant to

 their request, the Ex Parte Motion is DENIED”. [Doc. #9]. However, as explained

 below, Plaintiffs’ motion identified and applied the legal standards. Accordingly,

 the Order is clearly erroneous and contrary to law. As a result of this Order,

 Plaintiffs will be unable to proceed against the Defendants who distribute and profit

 from the Show Box app that induced individuals in Hawaii such as Mr. James Sosa

 [Doc. #1-5] into infringing Copyright protected Works. If this Order is not

 reversed, Plaintiffs will be left only with the option of proceeding directly against

 individuals that infringed the Works, an approach that has been criticized by this

 Court, other Courts and numerous commentators. See ME2 Productions, Inc. v.

 Pumaras, No. 1:17-00078, 2017 U.S. Dist. LEXIS 176913, 2017 WL 4707015(D.

 Haw. Oct. 19, 2017). See also Cook Productions, LLC v. Stanley Szerlip, No.

 1:16-cv-00637, Doc. No. 56 at pp 9-10 (D. Haw. Oct. 30, 2017). See also Malibu

 Media, LLC v. Doe, 2015 U.S. Dist. LEXIS 87751, * 2 (S.D.N.Y. July 6, 2015)

 (quoting Matthew Sag, Copyright Trolling, An Empirical Study, 100 Iowa L. Rev.

 1105, 1108 (2015)).




                                            3
Case 1:18-cv-00192-LEK-KSC Document 13-1 Filed 06/03/18 Page 4 of 13             PageID #:
                                     202



       Pursuant to Local Rules 74.1 and 74.3, and Fed. R. Civ. P. 72, Plaintiffs

 respectfully request this Court reverse the Magistrate Judge’s Order and grant their

 motion for leave of this Court to serve third party subpoenas.

 II. STANDARD OF REVIEW

       Under Local Rule 74.1, a district judge may set aside a magistrate judge’s

 order, or any portion thereof, found to be “clearly erroneous or contrary to law.”

 LR 74.1; see Fed. R. Civ. P. 72. “A decision is contrary to law if it applies an

 incorrect legal standard or fails to consider an element of the applicable standard.”

 Lovell v. United Airlines, Inc., 728 F. Supp. 2d 1096, 1100 (D. Haw. 2010)

 (quoting Na Pali Haweo Cmty. Ass'n v. Grande, 252 F.R.D. 672, 674 (D. Haw.

 2008)) (internal quotation marks omitted). A district judge reviews a magistrate

 judge’s legal conclusions de novo. Lovell, 728 F. Supp. 2d at 1100; see Fed. R.

 Civ. P. 72; LR 74.1. No deference is owed to the magistrate judge’s conclusions.

 See, e.g., Sklar v. Commissioner, 282 F.3d 610, 612 (9th Cir. 2002).

       Fed. R. Civ. P. 26(d)(1) provides that “[a] party may not seek discovery

 from any source before the parties have conferred as required by Rule 26(f),

 except . . . when authorized . . . by court order.” Fed. R. Civ. P. 26(d)(1). In rare

 situations, however, “courts have made exceptions, permitting limited discovery to

 ensue after filing of the complaint to permit the plaintiff to learn the identifying

 facts necessary to permit service on the defendant.” Columbia Ins. Co. v.


                                            4
Case 1:18-cv-00192-LEK-KSC Document 13-1 Filed 06/03/18 Page 5 of 13           PageID #:
                                     203



 Seescandy.com, 185 F.R.D. 573, 577 (N.D. Cal. 1999) (citing Gillespie v. Civiletti,

 629 F.2d 637, 642 (9th Cir. 1980)). Courts permit early discovery when a plaintiff

 has established good cause. “Good cause” may be found where the “need for

 expedited discovery, in consideration of the administration of justice, outweighs

 the prejudice to the responding party.” Semitool, Inc. v. Tokyo Electron Am., Inc.,

 208 F.R.D. 273, 276 (N.D. Cal. 2002). The Ninth Circuit permits the use of

 discovery to ascertain the identities of unknown defendants, “unless it is clear that

 discovery would not uncover the identities, or that the complaint would be

 dismissed on other grounds.” Gillespie, 629 F.2d at 642. A three-factor test is

 employed in deciding whether to permit early discovery to identify defendants.

       First, “the plaintiff should identify the missing party with sufficient
       specificity such that the Court can determine that defendant is a real person
       or entity who could be sued in federal court.” Second, the plaintiff “should
       identify all previous steps taken to locate the elusive defendant” to ensure
       that the plaintiff has made a good faith effort to identify and serve process
       on the defendant. Third, the “plaintiff should establish to the Court’s
       satisfaction that plaintiff's suit against defendant could withstand a motion to
       dismiss.” Further “the plaintiff should file a request for discovery with the
       Court, along with a statement of reasons justifying the specific discovery
       requested as well as identification of a limited number of persons or entities
       on whom discovery process might be served and for which there is a
       reasonable likelihood that the discovery process will lead to identifying
       information about defendant that would make service of process possible.”
       Dallas Buyers Club, LLC v. Doe–72.199.251.97, No. 15cv2033–BAS
       (DHB), 2015 WL 5675540, at *2 (S.D. Cal. Sept. 25, 2015) (quoting
       Columbia, 185 F.R.D. at 578-80) (internal citations omitted). Courts have
       also considered whether the responding or opposing party would suffer
       prejudice, whether the expedited discovery would substantially contribute to
       the case moving forward, and whether the requested information is likely to
       lead to identifying information. Patrick Collins, Inc. v. Does 1-1219, No. C
                                           5
Case 1:18-cv-00192-LEK-KSC Document 13-1 Filed 06/03/18 Page 6 of 13         PageID #:
                                     204



        10-14468 LB, 2010 WL 5422569, at *2 (N.D. Cal. Dec. 28, 2010); AF
        Holdings, LLC v. Doe, Civ. No. S-12-1078 GEB GGH, 2012 WL 1610185,
        at **2-3 (E.D. Cal. May 8, 2012).

        Courts have found that good cause exists to permit “expedited discovery to

 ascertain the identities of Doe defendants in copyright infringement actions.” AF

 Holdings, 2012 WL 1610185, at *2 (citing UMG Recordings, Inc. v. Doe., No. C-

 08-03999 RMW, 2008 WL 4104207 (N.D. Cal. Sept. 4, 2008); Arista Records

 LLC v. Does 1-43, Civil No. 07cv2357-LAB (POR), 2007 WL 4538697 (S.D. Cal.

 Dec. 20, 2007)).

 III.   STATEMENT OF APPEAL

        A.    Plaintiffs identified the Defendants with Sufficient Specificity

        In the memorandum in support of Plaintiffs’ Motion [Doc. #8-1], Plaintiffs

 identified: Defendant DOE 1 as operating interactive website

 http://showboxappdownload.com as of May 15, 2018; Defendants DOES 2-4

 operating an interactive website http://showboxappdownload.co as of May 15,

 2018; Defendant DOE 5 operating an interactive website https://show-

 box.en.uptodown.com/android; and Defendants DOES 6-10 as having placed

 versions of the Show Box app available for download at the website:

 http://rawapk.com/showbox-apk-download/. See [Doc. #8-1 at pp. 2-4].

        Moreover, in the Complaint Plaintiffs identified: Defendant DOE 3 as

 holding himself out as Andy Crow, the Chief Executive Officer (CEO) and founder


                                          6
Case 1:18-cv-00192-LEK-KSC Document 13-1 Filed 06/03/18 Page 7 of 13             PageID #:
                                     205



 of the Show Box app [Doc. #1 ¶31]; and Defendant DOE 4 as holding himself out

 as Mark Willow, the owner and man behind showboxappdownload.co [Id. at ¶31].

       Accordingly, Plaintiffs have identified the Defendants with sufficient

 specificity such that the Court can determine that defendant is a real person or

 entity who could be sued in federal court.

       B. Plaintiffs identified previous steps taken to locate the elusive

 Defendants

       In the memorandum in support of Plaintiffs’ Motion [Doc. #8-1], Plaintiffs

 specifically stated that Defendants use Registrants to hide their identities.

 Specifically, Plaintiffs stated that: Defendant Doe 1 uses the Registrant “Domains

 By Proxy, LLC” to hide its true identity [Id. at p. 3]; Defendants DOES 2-4 use the

 registrant “WhoisGuard, Inc.” in the foreign country of Panama [Id.] to hide their

 identities; and, with respect to Defendants DOES 6-10, Plaintiffs stated that the

 website http://rawapk.com/showbox-apk-download/ also uses the registrant

 Domains By Proxy, LLC in Arizona to hide its identity. [Id. at p. 4]; [Doc. #8-1].

       Defendant DOE 5, who operates the interactive website https://show-

 box.en.uptodown.com/android, on the other hand, does not include an anonymous

 registrar. In response to this Courts’ Order of May 25, 2018 [Doc. #10] regarding

 the motion for a temporary restraining order (hereafter: “TRO”), Plaintiffs’

 Counsel attempted to contact Media Ingea SL Sociedad Limitada via the email


                                            7
Case 1:18-cv-00192-LEK-KSC Document 13-1 Filed 06/03/18 Page 8 of 13           PageID #:
                                     206



 address contacto@uptodown.com and info@interdominios.com which they

 provided to the Internet Corporation for Assigned Names (hereafter: “ICANN”)

 [Doc. #8-2] to give notice of the TRO. [Doc. #12- 1]. According to regulations

 established by ICANN, an individual or entity which registers a domain name is

 required to provide complete and accurate registration information for the domain

 name.

         2. Your Representations. By applying to register a domain name, or by
         asking us to maintain or renew a domain name registration, you hereby
         represent and warrant to us that (a) the statements that you made in your
         Registration Agreement are complete and accurate...

 ICANN Uniform Domain Name Dispute Resolution Policy ¶ 2,

 https://www.icann.org/resources/pages/policy-2012-02-25-en, (last accessed May

 29, 2018). Plaintiffs’ counsel has received no reply from Media Ingea SL

 Sociedad Limitada besides an automatic response. [Doc. #12-1 at ¶12]. Similarly,

 Plaintiffs’ counsel sent an email to each of the addresses provided to ICANN for

 Defendants DOES 1-4 as shown below to no avail:

  DEFEND      WEBSITE                EMAIL ADDRESS
  ANT
  DOE 1   showboxappdownl            SHOWBOXAPPDOWNLOAD.
          oad.com                    COM@domainsbyproxy.com
  DOE 1   showboxappdownl            abuse@godaddy.com
          oad.com
  DOES 2- showboxappdownl            abuse@namecheap.com
  4       oad.co
  DOES 2- showboxappdownl            0e6828239254419aa75ec44c17414b1b.protect
  4       oad.co                     @whoisguard.com


                                            8
Case 1:18-cv-00192-LEK-KSC Document 13-1 Filed 06/03/18 Page 9 of 13            PageID #:
                                     207



  DOE 5   show-                      info@interdominios.com
          box.en.uptodown.c
          om
  DOE 5   show-                      contacto@uptodown.com
          box.en.uptodown.c
          om
  DOES 6- rawapk.com                 rawapk.com@domainsbyproxy.com
  10
  DOES 6- rawapk.com                 abuse@godaddy.com
  10


 [Id. at ¶¶ 3-4, 8-13].

        Accordingly, Plaintiff has identified the specific steps taken to identify the

 Defendants.

 C. Plaintiffs’ Suit Against Defendants Can Withstand a Motion to Dismiss.

        Plaintiffs have made a prima facie case of contributory copyright

 infringement. The Supreme Court’s unanimous decision in Metro-Goldwyn-Mayer

 Studios Inc. v. Grokster, Ltd., 545 U.S. 913 (2005), makes clear that where, as

 here, a defendant distributes a product “with the object of promoting its use to

 infringe copyright, as shown by clear expression or other affirmative steps taken to

 foster infringement,” the defendant “is liable for the resulting acts of infringement

 by third parties.” Id. at 936-37. Plaintiffs have alleged that they own and registered

 the copyrights of the subject works [Doc. #1 at ¶45], that the Defendants distribute

 the software application Show Box app and promote Show Box app for its

 infringing purpose [Id. at ¶¶ 49-73]. Plaintiffs’ investigator has confirmed that

                                            9
Case 1:18-cv-00192-LEK-KSC Document 13-1 Filed 06/03/18 Page 10 of 13           PageID #:
                                     208



  each of their Works are available via the Show Box app. [Doc. #1-4]. Finally,

  Plaintiffs have alleged that specific individuals were induced by Defendants to

  install the Show Box app and use it to infringe Plaintiffs’ Works, thus Plaintiffs

  have suffered resulting damage. Particularly, Plaintiffs have submitted a

  declaration of James Sosa in which he details how he was induced to infringe the

  Work Singularity due to Defendant DOE 1’s misleading website. [Doc. #1-5].

  Accordingly, Plaintiffs have made a prima facie showing of contributory

  infringement.

  D. Plaintiffs’ Request identified a limited number of persons and the

  reasonable likelihood that each will lead to identifying information.

        Plaintiff sought permission to serve a third-party subpoena on a limited

  number of parties so that Defendants’ true identities may be ascertained as shown

  below.

        1. The Registrant Domain By Proxy, LLC to obtain identification

  information for the true registrants of SHOWBOXAPPDOWNLOAD.COM and

  RAWAPK.COM. The Registrant will have the true identification information for

  these Defendants DOE 1 and 6-10.

        2. The Registrar GoDaddy.com, LLC. to obtain identification information

  for the true registrants of SHOWBOXAPPDOWNLOAD.COM and

  RAWAPK.COM. The Registrar will have the true identification information for


                                           10
Case 1:18-cv-00192-LEK-KSC Document 13-1 Filed 06/03/18 Page 11 of 13               PageID #:
                                     209



  these Defendants. This information should lead to the identification of at least

  Defendants DOE 1 and 6-10.

        3. The Registrant WhoisGuard, Inc. d/b/a WhoisGuard Protected (a

  Panamanian Company) to obtain identification information for the true registrant

  of SHOWBOXAPPDOWNLOAD.CO. The Registrant will have the true

  identification information for Defendants DOE 2-4.

        4. The Registrar NameCheap, Inc. to obtain identification information for

  the true registrant of SHOWBOXAPPDOWNLOAD.CO. The Registrar will have

  the true identification information for these Defendants. This information should

  lead to the identification of at least Defendants DOE 2-4.

        5. Google, Inc. d/b/a Gmail.com to obtain identification information for the

  subscriber of the email address: movieappsfreaks@gmail.com. Defendant DOE 2

  uses this email address to solicit and receive solicitations for partnership or

  advertising offers with the Show Box app. [Doc. #1 at ¶27]. Therefore, Google (the

  provider of the gmail email service) will have identification information for DOE

  2.

        6. RAWAPK.COM to obtain identification information for the parties who

  have placed versions of the Show Box app available for download at the website:

  http://rawapk.com/showbox-apk-download/. This information will lead to the

  identification of at least Defendants DOE 6-10.


                                            11
Case 1:18-cv-00192-LEK-KSC Document 13-1 Filed 06/03/18 Page 12 of 13           PageID #:
                                     210




  D. The Defendants and their Registrars and/or Email Providers will not

  Suffer Prejudice.

        The Defendants and their Registrars and Email providers will not suffer

  prejudice if Plaintiffs’ motion is given. Rather, each will have its own opportunity

  to make a motion to quash per Fed. R. Civ. P. 45. On the other hand, Plaintiffs will

  be severely prejudiced because they will be unable to proceed against the

  Defendants who distribute and profit from the Show Box app.

  IV.   CONCLUSION

        Contrary to the conclusion in Magistrate Judge Kevin S.C. Chang’s Order,

  Plaintiffs properly identified and applied legal standards relevant to their request.

  Particularly, Plaintiffs identified the factors the Courts in the Ninth Circuit have

  considered in determining whether “good cause” has been shown for the party’s need

  for expedited discovery and applied them to the facts of the present case. That is,

  the potential prejudice to the Plaintiffs is extreme while that to the Defendants is

  low, if any. Accordingly, the Order is clearly erroneous and contrary to law. For the

  foregoing reasons, the Court should reverse the denial and grant Plaintiffs’

  request for leave to to issue Rule 45 subpoenas to Domain By Proxy, LLC,

  WhoisGuard, Inc. d/b/a WhoisGuard, RAWAPK.COM, GoDaddy.com, LLC,

  NameCheap, Inc. and Google, Inc. d/b/a Gmail.com.


                                           12
Case 1:18-cv-00192-LEK-KSC Document 13-1 Filed 06/03/18 Page 13 of 13   PageID #:
                                     211



        DATED: Kailua-Kona, Hawaii, June 3, 2018.


                               CULPEPPER IP, LLLC


                               /s/ Kerry S. Culpepper
                               Kerry S. Culpepper

                               Attorney for Plaintiffs




                                       13
